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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                          Case No. 00-80541
                                                  HON. GEORGE CARAM STEEH
vs.

YUK RUNG TSANG,

           Defendant.
______________________________/

                    ORDER REGARDING CONTACT WITH JURORS

       Defendant Yuk Rung Tsang has filed a second request concerning a protective order

the court issued in July of 2007. That order prohibited contact between defendants (and

“their associates, friends, and family members”) and jurors involved in the matter of United

States v. Yuk Rung Tsang et al. (00-80541-Hon. George Caram Steeh) without prior written

approval of the court. Tsang now asks if that order applies to “attorneys and/or officers of

the court.”

       The court again advises that attorneys and officers of the court shall follow any and

all applicable laws, court orders, and ethical standards in engaging in any post-trial contact

with jurors. This order makes no recommendation to any juror concerning a decision to

engage in such communication. The court will issue no further orders on this topic.

       IT IS SO ORDERED.

Dated: December 4, 2012
                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE
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                             CERTIFICATE OF SERVICE

             Copies of this Order were served upon attorneys of record and
               on Yuk Rung Tsang #37357-053, FCI Fort Dix, P. O. Box
                 2000, Fort Dix, NJ 08640, on December 4, 2012, by
                             electronic and/or ordinary mail.

                                   s/Barbara Radke
                                     Deputy Clerk
